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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------- x
                                                         :
UNITED STATES OF AMERICA,                                :
                                                         :   S3 22 Cr. 673 (LAK)
                  v.                                     :
                                                         :
SAMUEL BANKMAN-FRIED,                                        [PROPOSED] ORDER
                                                         :
         a/k/a “SBF,”                                    :
                                                         :
                                 Defendant.
                                                         :
-------------------------------------------------------- x


        WHEREAS the Defendant is presently subject to bail conditions that were set on

December 22, 2022, and modified on January 3, 2023, January 20, 2023, February 1, 2023, and

February 14, 2023;

        WHEREAS the parties in this case have reached an agreement on a set of proposed

additions and modifications to the Defendant’s existing bail conditions to address certain issues

raised by the Government and the Court;

        WHEREAS the Defendant was previously ordered to live with his parents, who use in

their home two laptop computers, one desktop computer, and two cellphones (the “Parents’

Devices”);

        WHEREAS the Defendant’s parents have agreed to not allow the Defendant to use the

Parents’ Devices, to password protect the Parents’ Devices, to safeguard the passwords from the

Defendant, to not allow the Defendant to have the passwords to the Parents’ Devices in any

form, and to install monitoring software on the Parents’ Devices, as set forth in Appendix 1, that

will photograph the device’s user every five minutes;

        WHEREAS the Defendant’s parents have agreed to sign sworn affidavits representing

that they will not bring Prohibited Electronic Devices (as defined below) into the home, nor will
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they share the passwords for the Parents’ Devices with the Defendant or otherwise permit the

Defendant to access the Parents’ Devices;

        WHEREAS the Defendant’s parents have agreed to provide the Government with the

serial numbers, MAC addresses, and any other identifying information the Government requests

for the Parents’ Devices, and to provide Pretrial Services with access to the photographs taken by

the monitoring software whenever requested by Pretrial Services;

        WHEREAS the Government has stated that it separately intends to seek court

authorization for the installation of pen registers on the Defendant’s phone number, email

account, and home IP address, and the Defendant has represented that he will not object to the

installation of such pen registers;

        WHEREAS the Court has determined that these conditions, which are set forth below,

are “the least restrictive … combination of conditions” that “will reasonably assure the

appearance of the person as required and the safety of any other person and the community,” 18

U.S.C. § 3142(c)(1)(B);

        IT IS HEREBY ORDERED that the Defendant’s bail conditions will be modified as

follows:

                                             General Conditions

        1. The Defendant shall not contact or communicate with current or former employees of

             FTX or Alameda 1 (other than immediate family members), except in the presence of

             counsel, unless the Government or Court exempts an individual from this rule in

             writing.



1
 For the purposes of this Order, “FTX” is defined to include FTX Trading Ltd., FTX.com, FTX U.S., FTX Digital
Markets Ltd., and all affiliated parent, subsidiary, and successor entities; and “Alameda” defined to include Alameda
Research LLC and any affiliated parent, subsidiary, and successor entities.

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2. The Defendant shall not use any encrypted or ephemeral call or messaging

   application, including but not limited to “Signal.”

3. The Defendant shall not use a Virtual Private Network (“VPN”), except as explicitly

   authorized in his bail conditions, as described below and in Appendix 1.

                            The Defendant’s Devices

4. The Defendant is permitted to use two electronic devices – the laptop and the phone

   described below (respectively, the “New Laptop” and the “New Phone”) – and is

   otherwise prohibited from using any other cellphones, tablets, computers, video

   games (including video game platforms and hardware) that permit chat or voice

   communication, or “smart” devices with Internet access (collectively, “Prohibited

   Electronic Devices”), except that the Defendant is permitted to use electronic devices

   owned and controlled by defense counsel when supervised by defense counsel or their

   employees or agents.

                                The New Laptop

5. As set forth in Appendix 1, the New Laptop will be configured to allow access only

   to the following pre-approved websites, which are necessary for the preparation of the

   defense or are for personal use and do not pose a risk of danger to the community:

           Defense Preparation
           a. Amazon Web Services website hosting the FTX transactional database
              (“AWS Database”)
           b. Cohen & Gresser Relativity website
           c. Cohen & Gresser Sharefile website
           d. Cohen & Gresser Zoom room
           e. Wikipedia.org
           f. All .gov websites (*.gov)
           g. Ftx.com, ftx.us, ftxpolicy.com, and all other FTX related sites available at
              https://restructuring.ra.kroll.com/FTX/
           h. Youtube.com
           i. Docusign.net; Docusign.com

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          j. Archive.org
          k. Courtlistener.com
          l. The following read-only blockchain explorers:
                 i. Etherscan.io
                ii. Solscan.io
               iii. tronscan.org
               iv. bscscan.com
                v. omniexplorer.info
          m. The following read-only websites showing crypto asset prices:
                 i. Coingecko.com
                ii. Coinmarketcap.com

          Personal Use
          a. Nytimes.com
          b. Nypost.com
          c. Ft.com
          d. Bloomberg.com; bloomberglaw.com
          e. Forbes.com
          f. WSJ.com
          g. Businessinsider.com
          h. Opensecrets.org
          i. Prnewswire.com
          j. Puck.news
          k. Reuters.com
          l. Coindesk.com
          m. Cointelegraph.com
          n. Theblock.co
          o. Decrypt.co
          p. Beincrypto.com
          q. Netflix.com
          r. Open.spotify.com
          s. Doordash.com
          t. Ubereats.com
          u. Amazon.com
          v. MLB.com
          w. NFL.com

6. The Defendant must access the AWS Database through a secure VPN connection,

   using a single VPN account that permits access only to the AWS Database and no

   other websites, as set forth in Appendix 1.

7. The Defendant may use Gmail and other Google applications (e.g., docs.google.com)

   only through a single email address which defense counsel shall provide to the

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   Government. The Defendant is prohibited from creating or logging into any other

   email accounts, including but not limited to other Google accounts. This provision

   shall not prohibit email forwarding to the Defendant’s single email account, provided

   the Defendant does not send emails from any forwarding email address.

8. The Defendant’s use of Zoom will be limited to the Cohen & Gresser Zoom room, as

   set forth in Appendix 1, and will be limited to communications with defense counsel

   and defense counsel’s employees and agents, potential defense witnesses and their

   counsel, or others covered by attorney-client or common interest privilege.

9. The Defendant shall provide the Government with the web addresses for the AWS

   Database, the Cohen & Gresser Relativity website, the Cohen & Gresser Sharefile

   website, and the Cohen & Gresser Zoom room.

10. The New Laptop will be loaded with the local applications and software programs

   listed below. No other local applications or software programs may be added to the

   New Laptop without permission from the Government and the Court.

          a. Microsoft Office, including Microsoft Word, Excel, and Access (to create
             documents and analyze data)
          b. Adobe Acrobat (to read documents in .pdf format)
          c. Google Chrome (to access the pre-approved websites consistent with the
             provisions of this Order and according to the specifications set forth in
             Appendix 1)
          d. Zoom (exclusively for defense-related communications as specified in
             Paragraph 8)
          e. pgAdmin (PostgreSQL tool to query the AWS Database)
          f. Python (to read the FTX codebase)
          g. 7zip (to create zip files to transfer large files)
          h. Notepad and Notepad ++ (to take notes)
          i. 1password (to store passwords)
          j. Screenshot tool (to create screenshots)
          k. A remote access support tool (for remote support by Cohen & Gresser)




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11. The New Laptop will be loaded with security software that will block access to USB

   storage devices (e.g., thumb drives, etc.) so that USB storage devices will not be able

   to transfer data to or from the New Laptop, as set forth in Appendix 1.

12. The New Laptop will be loaded with monitoring software that will log the

   Defendant’s user activity, as set forth in Appendix 1. The user activity logs will be

   preserved and stored in a repository controlled by defense counsel.

13. The Defendant has retained a technical consultant affiliated with Guidepost Solutions

   (hereafter, the “Technical Consultant”), who will assist in the installation of

   monitoring technology on electronic devices described in this order. The Technical

   Consultant will monitor the user activity logs at least three times per week to ensure

   that the Defendant’s use of the New Laptop conforms the restrictions set forth above.

   In the event that the Technical Consultant becomes aware of a potential violation of

   the terms of the Defendant’s bail conditions set forth herein, the Technical Consultant

   will promptly bring such evidence to the attention of Pretrial Services. Pretrial

   Services may also request access to the activity logs when Pretrial Services has a

   reasonable suspicion that evidence of a violation of a condition of release may be

   found therein.

14. The Defendant will not be given administrative access rights to the New Laptop to

   ensure that he does not attempt to delete, alter, or circumvent the restrictions set forth

   above.

15. The Defendant shall provide the Government with identifying information for the

   New Laptop, including the New Laptop’s serial number and Media Access Control

   (“MAC”) address, as well as the IP address used to access the Internet.



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                                 The New Phone

16. The New Phone will not be a smartphone and will not have Internet access. Upon

   purchase, defense counsel shall provide the make and model of the New Phone to the

   Government.

17. The communication functions on the New Phone will be limited to SMS text

   messages and voice calls, as set forth in Appendix 1. All other message applications

   will be prohibited.

18. The Defendant will provide the Government with identifying information for the New

   Phone, including the New Phone’s serial number, International Mobile Equipment

   Identity (“IMEI”) number, International Mobile Subscriber Identity (“IMSI”) number,

   Subscriber Identity Module (“SIM”) number, and MAC address to the extent

   available.

                         The Old Laptop and Old Phone

19. Once the Defendant receives the New Laptop, he will turn over his existing laptop

   computer (the “Old Laptop”) to his attorneys, who will remove it from his residence

   and maintain custody of it.

20. Once the Defendant receives the New Phone, he will turn over his existing cellular

   telephone (the “Old Phone”) to his attorneys, who will remove it from his residence

   and maintain custody of it.

21. The Defendant shall turn over any other Prohibited Electronic Device to his attorneys,

   who will remove them from his residence and maintain custody of them.




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                             Miscellaneous Conditions

22. The Defendant must submit his electronic devices to a search by Pretrial Services

   upon reasonable suspicion that evidence of a violation of a condition of release may

   be found therein.

23. The Defendant shall not purchase, acquire, or otherwise obtain any Prohibited

   Electronic Devices.

                                Third-Party Devices

24. The Defendant is prohibited from accepting any visitors with Prohibited Electronic

   Devices into his home regardless of who the individual visiting the Defendant’s

   residence is there to see. To ensure that the restrictions set forth above are not

   circumvented by having visitors bring Prohibited Electronic Devices into the home

   for the Defendant to use, the following protocol shall apply to all visitors except

   defense counsel and their employees and agents, and those who are pre-approved by

   the Court:

           a. All visits from and meetings with visitors must be arranged in advance.

                When it is planned that an individual will visit the residence, the

                Defendant and/or his parents must provide advance notice to defense

                counsel, who will arrange for a security guard to be present when the

                visitor arrives. The security guard shall be employed by a security

                company or companies hired by defense counsel, and the names of those

                securities companies shall be provided to the Government.

           b. The security guard will use a handheld metal detector to screen the visitor

                for any cellphones or electronic devices.



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           c. The security guard will take possession of the visitor’s electronic devices

                while the visitor is in the house and will return them when the visitor

                leaves.

           d. Visitors are prohibited from entering the Defendant’s residence absent the

                presence of the security guard to screen the visitor upon entry to their

                residence.

           e. All visitors shall sign an electronic log in their own name, which shall list

                the date and time they arrived at the Defendant’s home.

25. To confirm that the Defendant and/or his parents are notifying defense counsel when

   a visitor is expected, the existing home security system, which includes video

   cameras at every door, shall be set to preserve video footage of everyone entering the

   residence.

26. The video footage will be stored in a repository controlled by defense counsel.

   Pretrial Services will be given access to the video footage at their discretion.

27. A security guard does not need to be present for visits by defense counsel or their

   employees or agents, or visitors pre-approved by the Court, nor must these

   individuals sign the electronic visitor log.

   Preparation and Verification of the Devices / Timing of Implementation

28. The Defendant’s Technology Consultant will supervise the preparation of the New

   Laptop, the New Phone, and the Parents’ Devices according to the restrictions set

   forth above and in Appendix 1.




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     29. To the extent the Court avails itself of an independent technology consultant, the

        Court’s independent technology consultant may verify the preparation of the devices

        at the direction of the Court.

     30. The conditions set forth above shall be implemented within one week from the filing

        of this Order. In the event that an independent technology consultant verifies that the

        electronic devices have been prepared correctly, all conditions besides those relating

        to the preparation of the electronic devices shall be implemented within one week

        from the filing of this Order, and the remaining conditions shall go into effect upon

        the completion of the device verification. The Defendant may continue to use the Old

        Laptop and the Old Phone in the one-week period prior to which this Order becomes

        effective.



SO ORDERED.


Dated: March ____, 2023                        ________________________________
       New York, New York                      The Honorable Lewis A. Kaplan
                                               United States District Judge




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                           APPENDIX 1




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